Case 10-93904-BHL-11 Doc191 Filed 01/11/11 EOD 01/11/11 18:56:20 Pgilof3

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

NEW ALBANY DIVISION
In re: §
§
EASTERN LIVESTOCK CO., LLC § Case No.: 10-93904-BHL-11
§
Debtor. § Chapter 11

NOTICE OF APPEARANCE ON BEHALF OF BOBBY AND DEBBIE BYNUM

James B. Johnston, of Easterwood, Boyd & Simmons, P.C., pursuant to Rule B-9010-
1(a)(2) of the Local Rules of the United States Bankruptcy Court for the Southern District of
Indiana, hereby enters his appearance as attorney of record on behalf of Bobby and Debbie
Bynum, whose address is P. O. Box 43, Rankin, Texas 79778, in the above-referenced
bankruptcy proceeding.

All notices, pleadings and documents should be served on the attorney of record at the
address indicated below.

Respectfuily submitted,

EASTERWOOD, BOYD & SIMMONS, PC
623 N. Main Street

P.O. Box 273

Hereford, Texas 79045

Tel: (806) 364-6801

Fax: (806) 364-2526

e-mail: bjtexas59@hotmail.com

alt. e-mail: bryan@ebs-law.net
Counsel for Bobby and Debbie Bynum

By: /s/ James B. Johnston.
James B. Johnston
Texas State Bar No. 10838200
CERTIFICATE OF SERVICE

[ hereby certify that on January 11, 2011, a copy of the foregoing Notice of Appearance on
Behalf of Bobby and Debbie Bynum was filed electronically. Notice of this filing will be sent to
the following parties through the Court’s Electronic Case Filing System. Parties may access this

filing through the Court’s system:

David L. Abt
davidabt@mwt.net

John W Ames
jwa@gdm.com
shm@gdm.com
tlm@gdm.com
rtrowbridge@kslaw.com

C. R. Bowles
crb@gdm.com
shm@gdm.com
Igw@gdm.com

John R. Carr
jreiii@acs-law.com
sfinnerty@acs-law.com

Deborah Caruso
dcaruso@daleeke.com
Tharves@daleeke.com
mthomas@daleeke.com

Bret S. Clement
bclement@acs-law.com
sfinnerty@acs-law.com

Jesse Cook-Dubin
jcookdubin@vorys.com
cdfricke@vorys.com

Daniel J. Donnellon
ddonnellon@ficlaw.com

Robert Hughes Foree
robertforee@bellscuth.net

Terry E. Hall
terry.hall@bakerd.com

sarah. laughlin@bakerd.com

sharon.kom@pbakerd.com

Edward M King
tking@fbtlaw.com
dgioffre@fbtlaw.com

James A. Knauer
jak@kgrlaw.com
hns@kgrlaw.com

Randall D. LaTour
rdlatour@vorys.com
cdfricke@vorys.com

Kkim Martin Lewis
kim.lewis@dinslaw.com
lisa. geeding@dinslaw.com
Patrick.burns@dinslaw.com

John Hunt Lovell
john@lovell-law.net
sabrina@lovell-law.net

John Frederick Massouh
john.massouh@sprouselaw.com

William Robert Meyer
rmeyer@stites.com

Allen Morris
amotris@stites.com
dgoodman@stites.com

Mark A. Robinson
mrobinson@vhrlaw.com
daibers@vhriaw.com

Jeremy S Rogers
Jeremy.Rogers@dinslaw.com
joyce, jenkins@dinslaw.com

Ivana B. Shallcross
ibs@gdm.com

Meredith R. Thomas
mthomas@daleeke.com
kmark@daleeke.com

U.S. Trustee
ustpregion10.in.ecf@usdoj.gov

Stephen A. Weigand
sweigand@ficlaw.com

Charles R. Wharton
Charles.R. Wharton@usdoj.gov

David L. LeBas
dlebas@namanhowell.com
koswald@namanhowell.com

Jessica E. Yates
jyates@swlaw.com
edufficy@swlaw.com

Judy Hamilton Morse
judy.morse@crowedunlevy.com
ecf@crowedunlevy.com
donna.hinkle@drowedunlevy.com
karol.brown@crowedunlevy.com

Join Huffaker

john. huffaker@sprouselaw.com
lynn.acton@sprouselaw.com
rhonda.rogers@sprouselaw.com

James T. Young
james@rubin-levin.net
marie@rubin-levin.net
ATTY_JTY@trustesolutions.com

John M. Thompson
jobn.thompson@crowedunlevy.com
jody.moore@crowedunlevy.com
donna.hinkle@crowedunlevy.com

Matthew J. Ochs
matt.ochs@moyewhite.com
kim.maynes@moyewhite.com
Case 10-93904-BHL-11 Doc191 Filed 01/11/11 EOD 01/11/11 18:56:20 Pg3of3

I further certify that on January 11, 2011, a copy of the foregoing Notice of Appearance on
Behalf of Bobby and Debbie Bynum was mailed by first-class U.S. Mail, postage prepaid and
properly addressed, to the following:

Eastern Livestock Co., LLC
135 W. Market Street
New Albany, IN 47150

Kentucky Cattlemen’s Association
176 Pasadena Drive
Lexington, KY 40503-2900

National Cattlemen’s Beef Association
c/o Alice Devine

6031 SW 37" St.

Topeka, Kansas 66610

/s/ James B. Johnston
James B. Johnston

